      2:24-cv-03419-DCN           Date Filed 06/10/24       Entry Number 12         Page 1 of 2




                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION
                                     IN ADMIRALTY

 Carver Maritime, LLC                           )
                                                )
                                     Plaintiff, )
                                                )
vs.                                             )          Civil Action No.: 2:24-cv-3419 DCN
                                                )
MN MSC MICHIGAN VII, IMO 9196864, )
her engines, boilers, tackle, appurtenances,    )
etc., in rem, and MSC Shipmanagement,           )
Ltd. and Kyveli Oceanway, Ltd., in              )
personam,                                       )
                                                )
                                  Defendants. )
                                                )                       (NON-JURY)

          ORDER AUTHORIZING ISSUANCE OF WARRANT IN ACTION IN REM

        AFTER ex parte hearing and after review of the Verified Complaint and supporting papers

in this action, it appears that the conditions for an action in rem exist, and after due consideration

of Plaintiffs prayer for an order authorizing the issuance of a warrant for arrest of the Defendant

Vessel; it is

        HEREBY ORDERED that the Clerk of this Court shall issue a Warrant for Arrest in Action

in rem for the arrest of the Defendant Vessel, its engines, boilers, tackle, furniture, equipment,

freights, appurtenances, etc. in accordance with Rule C of the Supplemental Rules of Certain

Admiralty and Maritime Claims of the Federal Rules for Civil Procedure; and it is

        FURTHER ORDERED that the owner, charterer, master, ranking officer, or person in

charge of the vessel shall take notice that a person asserting a right of possession or ownership

interest of said vessel is entitled to a hearing before a judge of this Court on not less than three (3)

days written notice to counsel for Plaintiff and, at said hearing, shall be entitled to an order vacating



                                                    1
      2:24-cv-03419-DCN          Date Filed 06/10/24       Entry Number 12         Page 2 of 2




the arrest forthwith and granting other appropriate relief, unless Plaintiff shows cause at the hearing

why such an order should not be granted.

       SO ORDERED at Charleston, South Carolina on June 10, 2024.




                                                             DAVID C. NORTON
                                                             UNITED STATES DISTRICT JUDGE




                                                  2
